Case 4:21-cv-02041-KM Document 92-7 Filed 07/09/24 Page 1 of 8




EXHIBIT G
         Case 4:21-cv-02041-KM Document 92-7 Filed 07/09/24 Page 2 of 8
  COMMONWEALTH OF                             POLICE CRIMINAL COMPLAINT
PENNSYLVANIA


                                                                       ·*
                                                                                                       COMMONWEALTH OF PENNSYLVANIA
COUNTY OF:LYCOMING                                                                                                                   vs.
Magisterial District Number: 29-3-04
MDJ: Hon. WIWAM C. SOLOMON                                             DEFENDANT:                                       (NAME and ADDRESS):
Address: 1965 LYCOMING CREEK RD                                        MATTHEW                          THOMAS                          SUMPTER
WILLIAMSPORT, PA 17701                                                 First Name                       Middle Name                     Last Name                         Geii:-
Telephone: (570)323-9982                                               416 BREN1WOOO DRIVE
                                                                       COGAN STATION, PA 17728
                                                                        NCIC Extradition Code Type
0 1-Fefony Full                 0 5-Felony Pend.                                         D C-Misdemeanor Surrounding Slates                           0 Distance:_
O 2-Felony Ltd.                 0 S-Felony Pend. Extradition Determ.                     0 0-Misdemeanor No Extradition
181 3-Felony Surrounding States 0 A-Misdemeanor Full                                     0 E-Misdemeanor Pending
0 4-Felony No Ext.              0 B-Misderneanor Limited                                 0 F-Misdemeanor Pending Extradition Determ.

rk~rz~LJ -7 jJ                       Date Flied
                                     10/02/2020
                                                                           I
                                                                DEFENDANT IDENTIFICATION INFORMATION

                                                                 l~re;~i\~                    Complaint/Incident Number
                                                                                                          20-03528
                                                                                                                                                  l   Request Lab Services?
                                                                                                                                                         □ YES ONO

GENDER             oos                             I POB CALIFORNIA   -      I                                  Add'IDOB            I       I         I Co-Defendant(s) 0
181 Male                       First Name                                              Middle Name                           Last Name                                  Gen.
D Female           AKA
RACE               18] White                        I I Asian                    fl Black                       I l NaUve American                  f l Unknown
ETHNICITY          L J Hisoanic                                     IXI Non-HiSPanle                                              r l Unknown
HAIR COLOR                            OGRY(Gray)             0 RED (Red/Aubn.)         0 SOY (Sandy)      0 BLU(Blue)                   0 PLE(Pu,ple)         1'81 BRO (Brown)
                                      D BU< (Black)          0 ONG (Orange)            D WHI (White}     D XXX (Unk.lBald)              0 GRN(Gre-en)         0 PNK(Pink)
                                      0 BLN (Blonde / Stru.t>eny)
EYE COLOR                             D BU< (Black)           1'81 BLU (Blue)              0 BRO (Brown)                0 GRN (Gteen)                   0 GRY(Gray)
                                      0 HAZ (Hazel)           0 MAR (Maroon)               0 PNK{Pink)                  0 MUL (Multicolored)            0 XXX (Unknown)
DNA                I □ YES ONO                    I DNA Location                                                                                              WEIGHT (lbs.)
FBI Number         I 273115TC9                                                   I MNUNumber                      l                                        160
Defendant Fingerprinted           I □ YES ONO                                                                                                                 Ft HEIGHT In.
Fingerprint Classification:
                                                                 DEFENDANT VEHICLE INFORMATION

Plate#
                         I   State   I D
                                       Hazmat       I Sticker
                                                         Registration
                                                              (MMIYY)
                                                                                 Comm,vah.
                                                                                 I   Ind.                    □ I Veh.
                                                                                                                       School      D    I   0th. NCIC Veh. Coda           Reg.
                                                                                                                                                                          same
VIN                                           I   Year   I   Make                          Model                        1 styte                   1   Color
                                                                                                                                                                         as Def.
                                                                                                                                                                           D
Office of the attorney for the Commonwealth ffJ Approved □ Disapproved because:=--- - --                                                        ---------

{The attorney for the Commonwealth may require that the complaint. arrest warrant affidavit or both be approved by the attorney for the Commonwealth prior
to filing. See Pa.R.Crim.P. 507).

                                                                                                                                                    10 t 2 / 202~
(Name of the attorney for the Commonwealth)                         (Signature of the attorney for the Commonwealth)                              (Date)


I, DETECTIVE DENT                                                                           301041 / #508
   (Name of the Afliant)                                                                   (PSP/MPOETC •Assigned Alilant ID Number & Badge#)

of LYCOMING COUNTY DISTRICT ATTORNEY                                                       PA0411300
   (Identify Department or Agency Represented and Political Subdivision)                   (Police Agency ORI Ni.rnber)
   do hereby state: (che<:k appropriate box)
 1. l8J I accuse the above named defendant who lives at the address set forth above
    □ I accuse the defendant whose name is unknown to me but who is described as _ _ __ _ _ _ __ _ _ __


      □ I accuse the defendant whose name and popular designation or nickname are unknown to me and whom I have
       therefore desianated as John Doe or Jane Doe
       with violating the penal laws of the Commonwealth or Pennsylvania at (2301                                                 2000 BLOCK OLD LYCOMING
TOWNSHIP                                                                                                (SubdJ\11s1on Code)         (Place-Pol1fical SubdMs1on)

       in LYCOMING County                         [41]              on or about 4/15/2020 - 9/24/2020
                                                  (County Code)                      (Offense Date)



AOPC 412A - Rev. 07 / 18                                                                                                                                         Page 1 of
                                                                                                                             Dent and Havens Production 053
                     Case 4:21-cv-02041-KM Document 92-7 Filed 07/09/24 Page 3 of 8

                                                                                                  ~ POLICE CRIMINAL COMPLAINT
Docket Number:                       Date Filed:     I OTN/LlveScan Number                                          r Complalntllncident Number
                                                                                                                     20-03528
                                10/0i/2020
Defendant Name
                               First:                                        I Middle:                           j Last:
                               MATTHEW                                         THOMAS                              SUMPTER

The acts committed by the accused are described below with each Act of Assembly or statute allegedly violated, if
appropriate. When there is more than one offense, each offense should be numbered chronologically.
(Set forth a brief summary of the fa~ sufficient to adVlse the defendant of the nature of the offense(s) charlif(l A citation to the statute(s) allegadly
violated, without more, Is not sufficient. In a summary case. you must dta the specific sectlon(s) and subsectlon(s) of the sbltute(s) « ordlnanc&{s)
allegedly violated.)
 Inchoate
  Offense
               D Attempt
                    18 901 A
                                                0 Sollcltatlon
                                                   18 902 A
                                                                                   0 Conspiracy
                                                                                       18903
                                                                                                                    I   Number of Victims Age 60 or Older _ _


                    1780-113                                I
                                              of the J TinE 35
                                                                             CounlS
                                                                                       UFEL J 3530
                                                                                         Grade
                                                                                                                I
                                                                                                    NCIC Offense Code
                                                                                                                        J 18A/3SA
                                                                                                                           UCR/NIBRS C<Xk
Lead?    Offense#     Section      Subsection            PAStaMe Tdle)
   Penn0OT Data
    /If aoolicable}        l
                         Accident
                          Number            I                          D Interstate
                                                                                         I     D Safety Zone
                                                                                                                    I    D Woc1<Zone
Statute Description (include the name of statute or ordinance): The Controlled Substance Drug, Device, and Cosmetic Act: Delivery of a
                                                                                                                                                    I
Control Substance
Acts of the accused associated with this Offense: IN THAT, on 4/15/2020, the defendant did deliver a controlled substance being SUBOXONE.
TO WIT: On 4/15/2020 the defendand did deliver 3 suspected SUBOXONE (Schedule Ill) pills to a confidential informant in the 2000 block of Lycoming
Creek Road in Old Lycoming Township, PA, 1no1, Lycoming County.




 Inchoate
 Offense
               D Attempt
                    18 901 A
                                                0 Sollcltatlon
                                                   18902 A
                                                                                  0 Consplra~y
                                                                                      18903
                                                                                                                    I   Number of Victims Age 60 or Older _ _


                    l 1s12                     Subsecilon
                                                            I   ofthe   ITITlE 18 I 1
                                                                            PA Statute I itlel     Counts
                                                                                                             I FEL3
                                                                                                                Grade           NCIC Offense Code        UCR/NIBRS Code
Lead?    Offense#          Section
    PennDOT Data
    (If aoolicable)       1
                         Accident
                         Number             I                           0 Interstate            0 Safety Zone       I                           10          Woc1<Zone

Statute Description (include the name of statute or ordinance): Criminal use of a communication facility.


Acts of the accused associated with this Offense: IN THAT, on 4/15/2020, the defendant did use a communication facility to corm1it, cause, or
facilitate the commission or tne attempt therof of any cnme which constiMes a felony under this title or under tne act of April 14, 19n known as The
Controlled Substance, Drug, Device and Cosmetic Act. TO WIT: On 4/15/2020 the defendant did utilize cellular telephone number (484) 725-0846 to
facilitate the delivery of 3 suspected SubOxone (SChedule III) pills in the 2000 block of Lycoming Creek Road in Old Lycoming Township, PA, 1no1,
Lycoming County.




Inchoate
 Offense
               O Attempt
                    18 901 A
                                                D Solicitation
                                                   18902 A
                                                                                  D Conspiracy
                                                                                      18903
                                                                                                                    I   Number of Victims Age 60 or Older _ _


                    ] 780-113                               J of the    J   TITLE 35                         I uM1s        J   3s12                 J   t8E/35A
Lead?    Offense#          Sectlon             Subsection                   PA Statute r illel     Cot.nts      Grade           NCIC Offense Code        UCR/NIBRS Code
   PennDOT Data
   (If annlicablel         I   Accident
                               Number      l                                                     0 Interstate       I 0          Safety Zone
Statute Description (include the name of statute or ordinance): The Controlled Substance Drug, Device, and Cosmetic Act: Possession of a
                                                                                                                                                    I 0     Wo<l<.Zone


Controlled Substance.
Acts of the accused associated with this Offense: IN THAT, on 9/24/2020, the defendant did knowningly, intentlonally, and unlawfully possess a
controlled substance being suspected FENTANYL (Schedule II). TO WIT: On 9/24/2020 the defendant did possess approximately 3 grams of suspected
FENTANYL (Schedule II) at 416 Brentwood Drive, (.ogan StatiOO, PA 1n2s.




AOPC 412A- Rev. 07 /18                                                                                                                                    Page     of

                                                                                                                               Dent and Havens Production 054
                   Case 4:21-cv-02041-KM Document 92-7 Filed 07/09/24 Page 4 of 8


                                                                               ~ POLICE CRIMINAL COMPLAINT
   Docket Number:            Date Flied:     I OTN/LiveScan Numb'er                           I Complaintllncldent Number
                             10/02/2020                                                         20-03528
   Defendant Name
                           First:                           I Middle:                    I Last:
                           MATTHEW                            THOMAS                       SUMPTER

   2. I ask that a warrant of arrest or a summons be issued and that the defendant be required to answer the charges I have
      made.

   3. I verify that the facts set forth in this complaint are true and correct to the best of my knowledge or information and belief.
     This verification is made subject to the penalties of Section 4904 of the Crimes Code (18 Pa.C.S. § 4904) relating to
     unsworn falsification to authorities.

   4. This complaint consists of the preceding page(s} numbered_ through_.

   5. I certify that this filing complies with the provisions of the Case Records Public Access Policy of the Unified Judicial System
      of Pennsylvania that require filing confidential information and documents differently than non-confidential information and
      documents.


   The acts committed by the accused, as listed and hereafter, were against the peace and dignity of the Commonwealth
   of Pennsylvania and were contrary to the Act(s) of the Assembly, or in violation of the statutes cited.
   (Before a warrant of arrest can be issued, an affidavit of probable cause must be completed, sworn to before the
   issuing authority, and attached.)

                         2
   (Date)                                   (Year)                                          (Signature of Affiant)


  AND NOW, on this date             /0 /,_ ( :z.o :z_o            I certify that the complaint has been properly completed and verified.
                                        I
  An affidavit of probable cause must be completed before a warrant can be Issued.




  (Magisterial District Court Number)                    (Issuing Authority)




AOPC 412A - Rev. 07 / 18                                                                                                    Page     of
                                                                                                    Dent and Havens Production 055
              Case 4:21-cv-02041-KM Document 92-7 Filed 07/09/24 Page 5 of 8

                                                             •   POLICE CRIMINAL COMPLAINT
 Docket Number:                  I
                       Date Filed:
                      10/02/2020
                                      OTN/LlveScan Number          j Complaint/Incident Number
                                                                     20-03528
 Defendant Name
                      First
                     MATTHEW
                                                lTHOMAS
                                                  Middle:          ISUMPTER
                                                                    Last:



                                     AFFIDAVIT of PROBABLE CAUSE

 SEE ATTACHED




I, DETECTIVE DENT, BEING DULY SWORN ACCORDING TO THE LAW, DEPOSE AND SAY THAT THE FACTS
SET FORTH IN THE FOREGOING AFFIDAVIT ARE TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE,
INFORMATION AND BELIEF.

I CERTIFY THAT THIS FILING COMPLIES WITH THE PROVISIONS OF THE CASE RECORDS PUBLIC ACCESS
POLICY OF THE UNIFIED JUDICIAL SYSTEM OF PENNSYLVANIA THAT REQUIRE FILING CONFIDENTIAL
INFORMATION AND DOCUMENTS DIFFERENTLY THAN NON-CONFIDENTIAL NFORMATION AND DOCUMENTS.

                                                                            d0
Sworn to me and subscribed before me this




My commission expires first Monday of January, z_t:r2,..(o




AOPC 411C - Rev. 07 /18                                                                              Page 1 of
                                                                             Dent and Havens Production 056
     Case 4:21-cv-02041-KM Document 92-7 Filed 07/09/24 Page 6 of 8




                             Affidavit of Probable Cause

This drug investigation involves a successful delivery of suspected SUBOXONE and a Search
Warrant resulting in the seizure of suspected FENTANYL from suspect Matthew SUMPTER.

The delivery on April 15, 2020 included: (1) Detectives meeting the CI at a pre-determined
location; (2) Searching the CI to negate the presence of any controlled substances, US Currency,
or contraband; (3) The CI contacted Matthew SUMPTER on cellular telephone number (484)
725-0846 to arrange the delivery ofXanax pills and SUMPTER indicating an agreement to
deliver them; (4) Detectives following the CI to the area of the 2000 block of Lycoming Creek
Road (5) The CI meeting SUMPTER in the 2000 block of Lycoming Creek Road; (6)
SUMPTER providing the CI with three Suboxone pills; (7) The CI turning over the three
Suboxone pills to detectives; (8) Searching the CI to negate the presence of any controlled
substances, US Currency, or contraband; (9) Debriefing the CI in which the CI confirmed
SUMPTER delivered three Suboxone pills to the CI. It should be noted that SUMPTER
provided Suboxone because he ran out ofXanax.

On September 24, 2020 a Sealed Search Warrant was granted by President Judge Butts for 416
Brentwood Drive, Cogan Station, PA 17728, SUMPTER's residence. Upon entry of the
residence SUMPTER was located in the basement on the couch. SUMPTER was taken into
custody and read his Miranda Rights which he understood and agreed to answer questions.
When I asked SUMPTER if there was any Fentanyl in the house he told me that there was a bag
in his bedroom that belonged to him. Detectives located 2 small bags of suspected Fentanyl in
the closet area ofSUMPTER's bedroom. SUMPTER indicated that both bags belonged to him.




                                                                         Dent and Havens Production 057
                        Case 4:21-cv-02041-KM Document 92-7 Filed 07/09/24 Page 7 of 8
3502234Y00                                                                                                                                          P.01/01

TRANSACTION REPORT
                                                                                     OCT/05/2020/MON 04:31 PM
FAX( T X)
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 00 1 OCT/O S 0 4:29PM 915 7 039848 5 5                                               0:01 :55  2 MEMORY     OK                                                    SG3 2492




     OCT/05/ 2020/MON02: 04 PM Dist Court 29-3-01                                                 FAX No. 570 398 4855                                       P. 003/004
       OCT/ U~/2020/MON 02:55 PW Dist Court 29-3-()4                                               PAX JQ, 570 323 9015                                      P. 001

            BAIL BOND                                                     Cormian-a!th of P e n ~
                                                                                      v.
                                                                            MatshewThofflll8 Sumpter
            OT'N!       U916851-3               OocblNo:           W-i9a04~-ll000124-Z.02D                Pate "'Cluirge,r.         ·o,u1512020
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                                                                                                                              ~lilwlwpol\ PA 17701
                                                                                                                              &'lQ.52S.9982

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            35 § 780..11l 5§A30 Mllllllfacture, Oeliwry, or POM6UIOI\ With Intent lo Manu~ or OeMl'
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          4. The defendant muat nalll1ar do, nor <!ll<Jaa ~ tie clona, Ml' panni't to be dcM an hie er her behalf, tJfPJ att M ~ by S ~ 4'152 ot eio
          Crtma.11 coda ( ~ to ~ o n d \'llneaa, or 'dct1m1) ot b>f Secdon "953 ~1111ng t> ralallaeon llgaln:rt witnesses or 'licfims). 18 l>a.C.S. 5
          ,4052; "9$3.                                                                                     .
          5. lbe dfflridtwtl t11\llll 11mtln ll'om orfmllllll aadvlly,
          e. The defendantmu3teomply\Mlhany ~torder, if                    any      ls issued by !Na oaurt.

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          mt:s OF 8EctJ"1TV:
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                                                                                                             Defendant'& Addren;



         _ _ _ __ _ _ __ _ __ _ (Surety)
                                                                                                                                     Dent and Havens Production 058
                     Case 4:21-cv-02041-KM Document 92-7 Filed 07/09/24 Page 8 of 8
OCi/05/2020/MON 02:04 PM Dist Court 29-3-01                                                 FAX No. 570 398 4855                                     P. 003/004
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      BAIL BOND                                                      Coovnonwealth of Pennsyl\tania
                                                                                       V,
                                                                        Met1hewlhomaa Sumpter
       OTN:       U 913651-3               DocJcetNo:         MJ-:Z9a04-CR-00001Z.H020             Date of Charga.e:         .04/15!2020
                                           court NQ:          W>J-2!»-04
       Def Name/AddtU:s: M.lllfllt.,.. Thoma., Sumpter                       Neld Oaurt J'\Ction::                      Magisterial Ol8trid Court 29-3-04,
                         416 BrMMIOod Or                                     Prelmln;ry Am1)011ment                     Mllam$pcn
                               Cogan 61<i11ori, PA 1n24                      10/0C!/2010 3:30 pm                        18&5 Lyoomlng Ci.ek Road
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      LEAD OFFfNSI:
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                   Al CHARGES MAY EXIST PLfA.~ SS: A» - - - . • . :; .• ---s PACH?
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      TffE COt.lDITtONS OF TiilS B.\IL POND AIU; AS ,=ou.ows:
      1. The defendllnt mU!lt llppcer .i • 11lme., required IJllbl 'fuR 11nd fll8l ci&postaon of the case(s).
      2. The dofondant Must obey ..It furth81 ordars of lhe baK al.dhQrlty,
      3. Th" denmdant ~ provlda a cun1111t address ;\r)d murt ,Jve wrlt1erl ~ce to 111• ball euthority, lhe clel1( of courts, tho districl etlomey, and th&
      COClrt bail 11981'\cy or other designate~ court bell officer, o# nny c:tlal1Qe of addM3 within 48 hou(s of Ole de~ of Ulo ehenge.
      4, The <lefendant mwt nellhe< do, nor OIICJn 1o be done, nor pennit to be done on his or her bWlf, any act as )ln)sQl>ed by Sadlon 4952 cl th&
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      4952, 4953.
      5, The defendant muat refnti11 rrom lilimirllll activity,
      6. The defendMI must comply 'With eny ftnQarprlr,t order. if Bny Is issued by ttlls OOUlt.

       I verify that 1he above conditions of ball have been imposed.




                                                                                       (Slgne\ure of Lssulng AUlhotfty)

      TYPfi:S OF SECUM'Y:
       0 C11111Y'Equivaler,t                    D GOY'\ aea,w Bond                      0 Realty wittin Cornrnonwoallh
       Q __%Cash                                Osu~Bond                                0 RellltY oubtde Commonwealth
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     _ _ _ __ _ _ _ _ __ _ _ _ (Surety)




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